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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

1, Task Force Officer Mohammed Ahi, being duly sworn do depose and state the following:

A. THE AFFIANT

1. I make this affidavit in support of an application for a criminal complaint.

2. I am employed as a Detective with the Baltimore Police Department, sworn as a
Special Deputy U.S. Marshal, assigned as a Task Force Officer, working with the Federal Bureau
. of Investigation (FBI). I have been a sworn Police Officer since 2001 and a Task Force Officer
with the EBPs Baltimore Field Office since 2018 and I am currently responsible for investigating
violent crimes, to include bank and armored carrier robberies, Hobbs Act violations / commercial
armed robberies, street robberies, armed carjackings, and the apprehension of state and federal
fugitives.

3. I am an investigative or law enforcement officer of the United States within the
meaning of Section 2510(7) of Title 18, United States Code, and empowered by law to conduct
investigations of and to make arrests for offenses enumerated in Section 2516 of Title 18, United
States Code. The following information is the result of your Affiant’s personal knowledge of this
investigation or has been provided to him by other law enforcement agencies and officers.

4, The information contained in this Affidavit is based upon my personal knowledge,
my review of documents and other evidence, and my conversations with other law enforcement
officers and other individuals.

5. This Affidavit is made for the limited purpose of establishing probable cause in
support of a Criminal Complaint charging Abdul PEARCE, with Interference with Commerce by

Robbery, in violation of 18 U.S.C. § 1951{a). Because this Affidavit is for the limited purpose of

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CLERK, U.S. DISTRICT COURT
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establishing probable cause to support the Criminal Complaint, it contains only a summary of

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relevant facts. ] have not included each and every fact Known to me concerning the individuals and

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the events described in this Affidavit. |

6. The statements made in this Affidavit are based in part on: (a) my personal
participation in this investigation; (b) information provided to me by other law enforcement
officers; (c) criminal history records maintained by various law enforcement agencies; and (d) the
training and experience of myself and other law enforcement agents and officers.

B. PROBABLE CAUSE :

7. On or about November 4, 2019, the Defendant entered the Game Stop store located
at 2500 Boston Street, Baltimore, Maryland. The Defendant asked an employee of Game Stop
about purchasing two Nintendo Switch Systems, valued at $175.00 each. The employee placed
the two Nintendo Switch systems behind the counter.’ The Defendant came around the counter,
placed a handgun against the employee’s right side, and instructed him to open the store safe and
then the store’s cash registers. The Defendant took by force $744 of store proceeds from the cash

registers and the two Nintendo Systems, and then fled the area.

8. In the United States currency that the Defendant took from the Game Stop store
was a GPS tracking device. Investigators were able to track the movements of the GPS unit and
officers were able to locate a vehicle in the area with the assistance ofa BPD aviation unit. Officers
attempted to approach the vehicle on foot, at which point the vehicle fled. Officers gave chase;
the vehicle stopped and the Defendant fled on foot but was quickly apprehended. Foxtrot video
captured the Defendant throwing a jacket while fleeing from the police. That jacket, recovered by

police, contained the U.S. currency taken from the Gamestop, along with the GPS tracking unit.

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A witness to the police pursuit of the Defendant called 911 after he/she saw a gun on the ground
along the flight path of the Defendant’s vehicle soon after the Defendant’s vehicle drove past. The
gun was recovered by BPD crime scene technicians and found to be a silver and black semi-
automatic firearm that matched the firearm that the Defendant used in the robbery. The Gamestop
employee was taken to the scene of the Defendant's arrest and identified the Defendant as the
individual who robbed the Gamestop.

9. The Game Stop was engaged in interstate commerce during the course of the robbery.
Products sold in the store were purchased and/or manufactured in other parts of the country prior
to being shipped to Maryland for retail sale. The United States Currency and Nintendo Switches taken
during the robbery were the property of the Game Stop. Therefore, the robbery interfered with,
obstructed and affected interstate commerce at this business, All of these events occurred in the

District of Maryland.

Cc, CONCLUSION

10. To the best of my knowledge and belief, all statements made in this affidavit are
true and correct. Based on the foregoing facts I believe probable cause exists supporting the
issuance of a Criminal Complaint charging the Defendant with Interference with Commerce by

Robbery, in violation of 18 U.S.C. § 1951(a).

MAL

Mohammed Ali .
Task Force Officer, FBI

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Sworn to and subscribed before me this am day of February, 2020 SLED a

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The Hpnorable J. Mark Coulson
United States Magistrate Judge

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